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                                  #:5870


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       LORENZO VARGAS
13
                          UNITED STATES DISTRICT COURT
14
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15
16
       LUIS LORENZO VARGAS,                       Case No. 2:16-cv-08684-SVW-AFM
17
                                Plaintiff, PLAINTIFF’S STATEMENT OF
18                                         GENUINE DISPUTE IN SUPPORT
       v.                                  OF OPPOSITION TO
19                                         DEFENDANTS MOTION FOR
                                           SUMMARY JUDGMENT
20     CITY OF LOS ANGELES; LOS
       ANGELES POLICE DEPARTMENT;          HON. STEPHEN V. WILSON
21     COUNTY OF LOS ANGELES;
       OFFICE OF THE LOS ANGELES           CTRM 10A
22     DISTRICT ATTORNEY; LOS
       ANGELES SHERIFF’S                   Hearing Date:    June 17, 2019
23     DEPARTMENT; MONICA QUIJANO;
       RICHARD TAMEZ; SCOTT SMITH;                          3:30 pm
24     AND DOES 1-10 INCLUSIVE,            Complaint Filed: November 12, 2016
25                                         Trial Date:      June 25, 2016
                             Defendants.
26
27       TO THE HONORABLE COURT, PLAINTIFF AND HIS COUNSEL:
28       Plaintiff respectfully submits the following Proposed Statement of Genuine Issues

                                              1
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1 of Material Dispute in support of his Opposition to Defendants’ Motion for Partial
2 Summary Judgment:
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5
6
           Defendants’ Uncontroverted Facts             Plaintiff’s Response:
7
     1. Plaintiff’s lawsuit stems from an alleged Undisputed.
8
     wrongful conviction for the commission of one
9
     rape and two attempted rapes in 1998.
10
     2. Plaintiff contends the City of Los Angeles and Objection. This is not entirely
11
     the Los Angeles Police Department failed to train complete, Plaintiff also contends
12
     as to disclosing information pertaining to crimes that Defendants ratified actions by
13
     identical   to   previous   investigations   and/or policymakers further undermining
14
     convictions, such as those Vargas was convicted Plaintiff’s right to a fair trial.
15
     of.
16
     3. And plaintiff contends the LAPD failed to train Undisputed.
17
     when such material constitutes Brady material and
18
     must be provided to the prosecution.
19
     4. LAPD detectives are trained in written form on Objection. See Jenks deposition.
20
     discovery in criminal cases.
21
     5. They are also trained on the job on discovery.    Id.
22
     6. The policy of the LAPD during the 1994-2000 Id.
23
     time period was for detectives to produce all
24
     discovery to the prosecutor and let him/her decide
25
     what to turn over to the criminal defendant.
26
     7. In 1999, the California Penal Code mandated Id.
27
     discovery as to certain items at the time.
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1          Defendants’ Uncontroverted Facts            Plaintiff’s Response:
2    8. In 2000, the LAPD also provided written Objection. Irrelevant. Plaintiff’s

3    training on Brady obligations, particularly as to arrest was in 1998 and conviction in

4    evidence relating to witnesses’ credibility.           1999, rendering any policies in the

5                                                           year   200     irrelevant    and   not
6                                                           controlling.
7    9. California Peace Officer Standards and Undisputed.                  No    such    training
8    Training (“POST”) did not, as of 1994-2000, have existed.
9    a mandatory training component on Brady.
10   10. POST sets the minimum standards for training Undisputed.
11   for all police agencies in California.
12
13
14
15   Plaintiff’s Uncontroverted Facts                        Supporting Evidence
16   1.         Detective Jenks, the LAPD’s FRCP, R.         Boon Decl. EX 1 (Jenks Depo.) at
17              30(b)(6) designee testified that that        Pg. 22:19-22
18              Defendants had no Brady training prior
19              to the year 200, the year after Plaintiff
20              was convicted.
21   2.         Detective Jenks testified that, as           Id. at Pg. 22:25-23:1
22              Defendants’ designs on Brady training,
23              he believed Brady v. Maryland was a
24              case published in 1998.
25
26
     3.         Detective Jenks also testified that          Id.
27
                Defendants had no Brady training prior
28
                to the year 2000.
                                                      3
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                               Genuine Legal Issues in Dispute:
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3
       1. Whether Defendants were properly trained on their Brady obligations at the time
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          of Plaintiff’s conviction.
5
       2. Whether Defendants implored a pattern and practice which contributed to the
6
          violation of Plaintiff’s constitutional right to a fair trial by withholding Brady
7
          material.
8
       3. Whether Defendants qualify as policymakers in order to ratify the withholding of
9
          Brady material.
10
11
12
       DATED: May 27, 2019                            LAW OFFICES OF JAN STIGLITZ
13
                                                      /s/ Jan Stiglitz
14                                                    Jan Stiglitz, Esq.
                                                      Attorney for Plaintiff
15                                                    Luis Lorenzo Vargas
16     DATED: May 27, 2019                            BOON LAW
17                                                    /s/ Brett A. Boon
18                                                    Brett A. Boon, Esq.
                                                      Attorney for Plaintiff
19                                                    Luis Lorenzo Vargas

20     DATED: May 27, 2019                            BENNER LAW FIRM
21                                                    /s/ Craig S. Benner
22                                                    Craig S. Benner, Esq.
                                                      Attorney for Plaintiff
23                                                    Luis Lorenzo Vargas

24     DATED: May 27, 2019                            ALEXANDER J. SIMPSON, ESQ.

25                                                    /s/ Alexander J. Simpson
                                                      Attorney for Plaintiff
26                                                    Luis Lorenzo Vargas
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